Case 2:24-cv-10038-FLA-AJR        Document 1         Filed 11/20/24    Page 1 of 30 Page ID
                                         #:1



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  8
                              UNITED STATED DISTRICT COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
 10
       ADERIYIKE LAWAL, individually and                   Case No.:
 11
       on behalf of all others similarly situated,
 12                                                        CLASS ACTION COMPLAINT
                     Plaintiff,
 13           v.                                           1) VIOLATION OF THE
                                                           AMERICANS WITH
 14    NOBLE HOUSE HOTELS &                                DISABILITIES ACT OF 1990,
       RESORTS, L.P., D.B.A. MISSION                       42 U.S.C. § 12181
 15
       BAY RESORT, a Texas Limited
 16    Partnership, and DOES 1-10, inclusive.              2) VIOLATION OF UNRUH
                                                           CIVIL RIGHTS ACT
 17                                                        (CALIFORNIA CIVIL CODE
                      Defendants.
 18                                                        §§ 51, 52, et seq.)

 19
 20                                                        JURY TRIAL DEMANDED
 21
 22
          Plaintiff, Aderiyike Lawal (“Plaintiff”), individually and on behalf of all others
 23
 24   similarly situated, alleges the following based upon information and belief:

 25                                  I. NATURE OF THE CASE
 26
             1.     Plaintiff, individually and on behalf of all others similarly situated persons
 27
 28   (hereafter “Class Members”), brings this civil rights action against Noble House Hotels

                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             -1-
Case 2:24-cv-10038-FLA-AJR       Document 1       Filed 11/20/24    Page 2 of 30 Page ID
                                        #:2



  1   and Resorts, L.P., a Texas Limited Partnership, doing business as Misson Bay Resort,
  2
      (“Defendant”) seeking to put an end to the systemic civil rights violations committed by
  3
      Defendant against Plaintiff.
  4
  5      2. Plaintiff and Class Members are visually-impaired and legally blind persons who
  6   require screen-reading software to access and read website content using their computer.
  7
      Plaintiff uses the terms “blind” or “visually-impaired” herein to refer to all people with
  8
  9
      visual impairments who meet the legal definition of blindness in that they fall within the

 10   meaning of the Americans with Disabilities Act (“ADA”) and California’s Unruh Civil
 11
      Rights Act (“UCRA”), Cal. Civ. Code § 51, et seq. and have a visual acuity with
 12
      correction of less than or equal to 20 x 200.
 13
 14      3. Plaintiff, and Class Members, are unnecessarily denied equal access to the same
 15   online information and goods and services offered to others because Defendant’s
 16
      website, https://www.missionbayresort.com/ (the “Website”), and all subgroups of
 17
 18   webpages contained in the Website are not fully accessible to screen-reading technology

 19   used by blind individuals. This relegates visually impaired customers of Defendant to a
 20
      second-class experience. If Defendant’s Website was accessible, then visually impaired
 21
      individuals could independently access information relating to the pricing, description,
 22
 23   and details of Defendant’s goods and services, with the same convenience available to
 24   others. In contrast with Defendant, many other businesses operate websites and mobile
 25
      applications that are fully accessible to visually impaired individuals.
 26
 27
 28

                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             -2-
Case 2:24-cv-10038-FLA-AJR      Document 1      Filed 11/20/24    Page 3 of 30 Page ID
                                       #:3



  1      4. Upon information and belief, Plaintiff alleges that Defendant owns, operates,
  2
      markets and/or monetizes hotels, including one(s) located within California. The hotels,
  3
      which are places of public accommodation open to the public, offer various goods
  4
  5   and/or lodging and dining services to customers.
  6      5. Upon information and belief, Plaintiff alleges that Defendant owns, operates,
  7
      manages, updates and/or monetizes its Website, which provides to the public a wide
  8
  9
      array of services, information, goods and/or other programs relating to the brick-and-

 10   mortar locations.
 11
         6. Defendant’s Website contains significant access barriers that make it impossible
 12
      for visually impaired customers to properly and fully utilize the Website. Specifically,
 13
 14   these barriers make it impossible for Plaintiff to have full access to the Website and
 15   independently review information concerning goods/services for sale, pricing, brick-
 16
      and-mortar location information and detailed information about other services offered by
 17
 18   Defendant online.

 19      7. Defendant thus excludes the visually impaired from full and equal participation in
 20
      the growing Internet economy that is increasingly a fundamental part of the common
 21
      marketplace and daily living. In the wave of technological advances in recent years,
 22
 23   assistive computer technology is becoming an increasingly prominent part of everyday
 24   life for visually impaired individuals, allowing them to fully and independently access a
 25
      variety   of   goods   and/or services, including     review   information   concerning
 26
 27
 28

                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                            -3-
Case 2:24-cv-10038-FLA-AJR       Document 1       Filed 11/20/24    Page 4 of 30 Page ID
                                        #:4



  1   goods/services for sale, pricing, brick-and-mortar location information and detailed
  2
      information about other services offered by Defendant online.
  3
         8. Despite readily available methods to render websites fully accessible to all, such
  4
  5   as the methods in use by other businesses, which make correct and proper use of
  6   alternative text, accessible forms, descriptive links, resizable text, and labels, Defendant
  7
      has failed to design, construct, maintain, and operate its Website to be fully accessible to
  8
  9
      and independently usable by Plaintiff and other visually-impaired individuals.

 10      9. Defendants’ denial of full and equal access to its Website, and therefore denial of
 11
      its services offered thereby and in conjunction with its physical location, is a violation of
 12
      Plaintiff’s and the Class Members’ rights under the ADA and California’s UCRA.
 13
 14      10. Title III of the Americans with Disabilities Act of 1990 (42 U.S.C. §§ 12101 et
 15   seq.) and California’s Unruh Civil Rights Act (Cal. Civil Code §§ 51-53) have provided
 16
      a clear, national mandate for the elimination of discrimination against individuals with
 17
 18   disabilities. Such discrimination includes barriers to full integration, independent living,

 19   and equal opportunity for persons with disabilities, including those barriers created by
 20
      websites and other public accommodations that are inaccessible to blind and visually
 21
      impaired persons.        Specifically, the ADA mandates that places of public
 22
 23   accommodation, provide auxiliary aids and services to make visual materials available
 24   to individuals who are visually impaired, including Plaintiff. Under the ADA, a place of
 25
      public accommodation engages in unlawful discrimination if it fails to “take such steps
 26
 27   as may be necessary to ensure that no individual with a disability is excluded, denied

 28

                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             -4-
Case 2:24-cv-10038-FLA-AJR       Document 1      Filed 11/20/24    Page 5 of 30 Page ID
                                        #:5



  1   services, segregated or otherwise treated differently than other individuals because of the
  2
      absence of auxiliary aids and services.” 42 U.S.C. § 12182(b)(2)(A)(iii). Additionally,
  3
      California state law mandates equal protection of persons with disabilities, requiring that
  4
  5   places of public accommodation provide access to goods, services and facilities for
  6   persons with disabilities. See UCRA, Cal. Civ. Code § 51, et seq.
  7
         11. Unless Defendant remedies the numerous access barriers on its Website, Plaintiff
  8
  9
      and Class Members will continue to be unable to independently navigate, browse, use,

 10   access and/or complete a transaction on the Website, which offers various information to
 11
      its customers who wish to visit Defendant’s physical locations. In fact, and unless
 12
      Defendant remedies the numerous access barriers on its Website, Plaintiff will be unable
 13
 14   to visit Defendant’s physical locations in person to purchase goods and/or use services
 15   offered by Defendant at those locations. At all relevant times, Plaintiff intended to visit
 16
      Defendant’s physical locations to purchase goods and/or use services offered by
 17
 18   Defendant at those locations but has been unable to do so given the numerous access

 19   barriers which exist on Defendant’s Website. Because Defendant’s Website is not
 20
      equally accessible to blind and visually-impaired consumers in violation of the UCRA,
 21
      this complaint seeks declaratory and injunctive relief to correct Defendant’s policies and
 22
 23   practices to include measures necessary to ensure compliance with federal and state law
 24   and to include monitoring of such measures, to update and remove accessibility barriers
 25
      on the Website so that Plaintiff and the Class Members may be able to independently
 26
 27   and privately use Defendant’s Website. This complaint also seeks compensatory

 28

                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                            -5-
Case 2:24-cv-10038-FLA-AJR       Document 1      Filed 11/20/24     Page 6 of 30 Page ID
                                        #:6



  1   damages to Plaintiff and the Class Members for having been subjected to unlawful
  2
      discrimination.
  3
                                II. JURISDICTION AND VENUE
  4
  5      12. This Court has subject-matter jurisdiction over this action under 28 U.S.C. §§
  6   1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42
  7
      U.S.C. § 12181, et seq., and 28 U.S.C. § 1332. Supplemental jurisdiction for claims
  8
  9
      brought under parallel California law – arising from the same nucleus of operative facts –

 10   is predicated on 28 U.S.C. § 1367. Plaintiff’s Unruh Act claims are formed from the same
 11
      case and/or controversy and are related to Plaintiff’s ADA claims. A violation of the
 12
      ADA is a violation of the Unruh Act. (Cal. Civil Code § 51(f)).
 13
 14      13. This Court also has personal jurisdiction over Defendants because they conduct
 15   and continue to conduct a substantial and significant amount of business in the State of
 16
      California, and because Defendant’s offending Website is available across California.
 17
 18   All events giving rise to Plaintiff’s causes of action took place in California, County of

 19   Los Angeles. Therefore, jurisdiction of this Court is proper. Defendants have been and
 20
      are committing the acts alleged herein in the Central District of California, and have
 21
      been and are violating the rights of Plaintiff and other consumers with disabilities in this
 22
 23   District, and have been and are causing injury to Plaintiff and the Class Members in this
 24   District.
 25
         14. Venue is proper in this Court because Plaintiff resides in this District, Defendant’s
 26
 27
 28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              -6-
Case 2:24-cv-10038-FLA-AJR       Document 1      Filed 11/20/24    Page 7 of 30 Page ID
                                        #:7



  1   conduct and continue to conduct a substantial and significant amount of business in this
  2
      District. Defendants are also subject to personal jurisdiction in this District, and a
  3
      substantial portion of the conduct complained of herein occurred in this District.
  4
  5                                        III. PARTIES
  6      15. Plaintiff, at all times relevant and as alleged herein, is a resident of California,
  7
      County of Los Angeles.
  8
  9
         16. Plaintiff is a blind, visually-impaired handicapped person. Plaintiff uses screen-

 10   reader software to access and operate websites and mobile applications. Plaintiff is
 11
      knowledgeable about certain tools which allow visually impaired individuals to access
 12
      websites, including various screen-reader software.
 13
 14      17. At all relevant times, Plaintiff intended to visit, in-person, Defendant’s physical
 15   locations, to purchase goods and/or use services offered by Defendant at its brick and
 16
      mortar locations.
 17
 18      18. Unnamed Class Plaintiffs, are, and at all times relevant herein, were residents of

 19   the State of California.     Each of these Plaintiffs encountered access barriers on
 20
      Defendants’ Website and were unable to use Defendants’ Website, deterring him/her
 21
      from visiting Defendants’ brick-and-mortar location(s).
 22
 23      19. Plaintiff has attempted to use Defendant’s Website in order to access
 24   information concerning Defendant’s services, offers, goods and/or online promotions,
 25
      with the intent to visit, in person, Defendant’s brick-and-mortar locations. She has been
 26
 27   unable to access information and services offered to others through the Website. She

 28

                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                            -7-
Case 2:24-cv-10038-FLA-AJR       Document 1      Filed 11/20/24     Page 8 of 30 Page ID
                                        #:8



  1   desires to use Defendant’s Website and has the necessary computer technology to do so
  2
      if it were fully accessible to the visually impaired. Each time that Plaintiff has attempted
  3
      access, she generally has attempted to visit various tabs on the Website.
  4
  5      20. The access barriers Plaintiff has encountered on Defendant’s Website have
  6   deterred Plaintiff from visiting Defendant’s brick-and-mortar location(s).
  7
         21. On at least six occasions starting in March 2024 to the present, Plaintiff attempted
  8
  9
      to access Defendant’s Website in order to obtain more information about its services

 10   and/or goods using her desktop computer and/or smartphone.
 11
         22. However, when she attempted to do so, Plaintiff was, and continues to be, unable
 12
      to independently and fully access information available to the general public through
 13
 14   Defendant’s Website due to the Website’s communication barriers. Plaintiff could not
 15   fully and adequately access any contact information or any details related to Defendant’s
 16
      services from Website. Plaintiff has unfairly been denied equal access to the same online
 17
 18   information offered to others online through the Website, and all subgroups of webpages

 19   contained in the Website, which are not fully accessible to screen-reading and text-
 20
      recognition technology used by blind individuals. The access barriers Plaintiff has
 21
      encountered on Defendant’s Website have deterred Plaintiff from visiting all of
 22
 23   Defendant’s brick-and-mortar location(s), including specifically its locations in
 24   California.
 25
         23. Aside from wishing to go to Defendant’s physical locations to make reservations,
 26
 27   Plaintiff wished to visit Defendant’s Website to review the goods and/or services and

 28

                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                            -8-
Case 2:24-cv-10038-FLA-AJR      Document 1      Filed 11/20/24     Page 9 of 30 Page ID
                                       #:9



  1   make a reservation but on each occasion, she was unable to do so as a result of
  2
      significant communication barriers that existed and continue to exist on Defendant’s
  3
      Website.
  4
  5      24. Upon information and belief, Plaintiff alleges that Defendant owns, operates,
  6   markets and/or monetizes hotels, including ones located within California. The hotels,
  7
      which are places of public accommodation open to the public, offer various lodging and
  8
  9
      dining goods/services to customers.

 10      25. Upon information and belief, Plaintiff alleges that Defendant owns, operates,
 11
      manages, updates and/or monetizes its Website, which provides to the public a wide
 12
      array of services, information, price lists, menus and/or other programs relating to the
 13
 14   brick-and-mortar locations.
 15      26. Plaintiff is informed and believes, and thereon alleges that, at all relevant times,
 16
      Defendant has continuously been doing business in Los Angeles, California.
 17
 18      27. Plaintiff is informed and believes, and thereon alleges that Defendant is in control

 19   of the fundamental aspects of the Website which gives rise to the violations stated
 20
      herein.
 21
         28. Defendants’ brick-and-mortar office(s), including ones located in California, are
 22
 23   places of public accommodation open to the public, that offer various options to
 24   customers.   See 42 U.S.C. § 12181(7) and UCRA, Cal. Civ. Code § 51, et seq.
 25
      Defendants’ Website is a service, privilege, or advantage of Defendants’ physical
 26
 27   location(s). Through the Website, customers may review various goods and/or services,

 28

                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                            -9-
Case 2:24-cv-10038-FLA-AJR       Document 1 Filed 11/20/24         Page 10 of 30 Page ID
                                        #:10



   1   access information concerning Defendant’s services and online promotions, and detailed
   2
       information concerning the brick-and-mortar locations.
   3
          29. The access barriers Plaintiff encountered on Defendant’s Website have caused a
   4
   5   denial of Plaintiff’s full and equal access multiple times in the past, and now deter
   6   Plaintiff on a regular basis from full access to Defendant’s Website. Similarly, the access
   7
       barriers Plaintiff encountered on Defendant’s Website have impeded Plaintiff’s full and
   8
   9
       equal enjoyment of goods and services offered at Defendant’s brick-and-mortar

  10   location(s).
  11
          30. The true names or capacities, whether individual, corporate, associate or
  12
       otherwise of defendants, DOES 1 through 10, inclusive, are unknown to Plaintiff who
  13
  14   therefore sues said DOE defendants by such fictitious names.
  15      31. Plaintiff is informed and believes, and thereon alleges that each of the defendants
  16
       designated herein as a DOE is responsible for the unlawful acts as herein alleged, and
  17
  18   Plaintiff will ask leave of the Court to amend this complaint to show its true names and

  19   capacities when same have been ascertained.
  20
          32. Plaintiff is informed and believes, and thereon alleges that at all times herein
  21
       mentioned Defendants, and each of them, were the agents, servants and employees each
  22
  23   of the other, acting within the course and scope of said agency and employment, with the
  24   full knowledge and consent of each of the Defendants. Each of the acts and/or omissions
  25
       alleged herein were made known to and ratified by each of the Defendants (including
  26
  27   any DOE defendant).

  28

                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             - 10 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24            Page 11 of 30 Page ID
                                         #:11



   1      33. Defendant and each and every DOE Defendant shall be referred to collectively as
   2
       “Defendants” hereafter.
   3
                                   IV. FACTUAL ALLEGATIONS
   4
   5      34. Plaintiff and Class Members are informed and believe, and thereon allege that
   6   Defendants operate brick-and-mortar locations that offer services and/or goods for sale
   7
       to the general public.
   8
   9
          35. The Website offers features which should allow all consumers to access the goods

  10   and services offered in connection with its brick-and-mortar locations. The Website
  11
       itself is also a service offered to the public. Plaintiff and the Class Members are
  12
       informed and believe, and thereon alleges that Defendants operate, maintain, update,
  13
  14   monetize      and/or      own    a    branded        Internet      website   located    at
  15   https://www.missionbayresort.com/ for potential and existing customers to conveniently
  16
       obtain information relating to Defendant’s brick-and-mortar locations which include, but
  17
  18   are not limited to, the following: information about the goods and/or services offered,

  19   online reservations, contact options, location information, pricing details, services,
  20
       promotions, online offers and many other benefits.
  21
          36. Customers use Defendants’ Website to access many services available at
  22
  23   Defendants’ brick-and-mortar location(s).
  24      37. Based on information and belief, it is Defendant's policy and practice to deny
  25
  26
  27
  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 11 -
Case 2:24-cv-10038-FLA-AJR       Document 1 Filed 11/20/24         Page 12 of 30 Page ID
                                        #:12



   1   Plaintiff, along with other blind or visually-impaired users, access to Defendant’s
   2
       Website, and to therefore specifically deny the goods and services that are offered and
   3
       integrated with Defendant’s brick-and-mortar locations and otherwise.
   4
   5      38. Due to Defendant's failure and refusal to remove access barriers to its Website,
   6   Plaintiff and the Class Members, who are visually-impaired persons, have been and are
   7
       still being denied equal access to Defendant’s brick-and-mortar locations and the
   8
   9
       numerous goods, services, privileges, and benefits offered to the public through

  10   Defendant’s Website, including the Website itself. In fact, and unless Defendant remedy
  11
       the numerous access barriers on its Website, Plaintiff will be unable to visit Defendant’s
  12
       physical locations in person to purchase goods and/or use services offered by Defendant
  13
  14   at those locations. At all relevant times, Plaintiff and the Class Members intended to
  15   visit Defendant’s physical locations to purchase goods and/or use services offered by
  16
       Defendant at those locations but has been unable to do so given the numerous access
  17
  18   barriers which exist on Defendant’s Website.

  19      39. It is undisputed that the Internet has become a significant source of information
  20
       for conducting business and for doing everyday activities such as shopping, banking,
  21
       etc., for sighted and visually impaired individuals.     When properly accessible, the
  22
  23   Internet provides individuals with disabilities significant independence.        Visually
  24   impaired individuals regularly access a broad range of accessible Internet websites
  25
       through the use of screen-reader technology, which can translate visual information on a
  26
  27   website into nonvisual formats such as synthesized speech and refreshable Braille.

  28

                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             - 12 -
Case 2:24-cv-10038-FLA-AJR       Document 1 Filed 11/20/24         Page 13 of 30 Page ID
                                        #:13



   1      40. Visually impaired individuals regularly access a broad range of accessible
   2
       Internet websites through the use of screen-reader technology, which can translate visual
   3
       information on a website into nonvisual formats such as synthesized speech and
   4
   5   refreshable Braille.
   6      41. Except for legally blind individuals whose residual vision allows them to use
   7
       them to use magnification, screen reading technology is the only method which allows
   8
   9
       visually impaired individuals independent access to the Internet. In this case, Plaintiff

  10   can only access the Internet independently with the assistance of a screen-reader.
  11
          42. For the screen reader technology to function, the information on a website must
  12
       be capable of being rendered into meaningful text. If the website content is constructed
  13
  14   such that it cannot be rendered into meaningful text, visually impaired individuals are
  15   unable to access the same content available to sighted individuals because they cannot
  16
       detect what is depicted on the screen and, for example, click where required to access
  17
  18   further information and services.

  19      43. There are well-established industry adopted guidelines for making websites
  20
       accessible to visually impaired individuals. These guidelines have been in place for at
  21
       least several years and have been followed successfully by other large business entities
  22
  23   in making their websites accessible. The Web Accessibility Initiative (“WAI”), a project
  24   of the World Wide Web Consortium which is the leading standards organization of the
  25
       Web, has developed guidelines for website accessibility.
  26
  27
  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 13 -
Case 2:24-cv-10038-FLA-AJR       Document 1 Filed 11/20/24         Page 14 of 30 Page ID
                                        #:14



   1      44. The federal government has also promulgated website accessibility standards
   2
       under Section 508 of the Rehabilitation Act. These guidelines are readily available via
   3
       the Internet, so that a business designing a website can easily access them.
   4
   5      45. These guidelines recommend several basic and easily to implement components
   6   for making websites accessible, including, but not limited to: adding invisible alt-text to
   7
       graphics; ensuring that all functions can be performed using a keyboard and screen
   8
   9
       reader; ensuring that image maps are accessible; removing empty links or headings

  10   which are confusing; removing PDF documents which do not allow screen-readers to
  11
       fully and properly read the text; and adding headings and links so that visually impaired
  12
       people can easily navigate the site. Without these very basic components a website will
  13
  14   be inaccessible to a visually impaired person using a screen reader.
  15      46. In this case, based on information and belief, Plaintiff and the Class Members
  16
       allege that Defendants have a policy and practice of denying the visually impaired full
  17
  18   access to their Website, including access to the services offered by Defendants through

  19   their Website. Due to Defendants’ failure and refusal to remove access barriers to their
  20
       Website, visually impaired individuals have been and are being denied equal access to
  21
       Defendants’ brick-and-mortar location(s), as well as to the numerous services and
  22
  23   benefits offered to the public through their Website.
  24      47. Defendants deny the visually impaired full access to services and information
  25
       made available through their Website by preventing them from freely navigating the
  26
  27   Website.

  28

                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             - 14 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24          Page 15 of 30 Page ID
                                         #:15



   1      48. Defendants’ Website contains access barriers that prevent free and full use by
   2
       visually impaired persons using keyboards and screen reading software. These barriers
   3
       are pervasive and include, but are not limited to: lack of alt-text or text equivalent on
   4
   5   graphics, inaccessible forms, the lack of adequate prompting and labeling, the denial of
   6   keyboard access, empty links and headings, inability to complete important tasks using
   7
       the keyboard and screen reader alone, and/or documents in PDF or other inaccessible
   8
   9
       formats, which are not fully readable or navigable using a screen reader.

  10      49. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical
  11
       image on a website. Web accessibility requires that alt-text be coded with each picture
  12
       so that a screen reader can speak the alternative text while a sighted user sees the picture.
  13
  14   Alt-text does not change the visual presentation except that it appears as a text pop-up
  15   when the mouse moves over the picture. There are many important pictures on
  16
       Defendants’ Website that lack a text equivalent. The lack of Alt-text on these graphics
  17
  18   prevents screen readers from accurately vocalizing a description of the graphics. Screen

  19   readers detect and vocalize Alt-text to provide a description of the image to a blind
  20
       computer user. As a result, visually impaired customers of Defendants are unable to
  21
       effectively determine what is on the Website and fully browse the site.
  22
  23      50. Defendants’ Website also includes numerous instances of empty links and
  24   headings which prevent visually-impaired individuals from recognizing the function or
  25
       purposes of links and headings contained in the Website. If a link or heading contains
  26
  27
  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 15 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24        Page 16 of 30 Page ID
                                         #:16



   1   no text, the function or purpose of the link or heading will not be presented to the user.
   2
       This can introduce confusion for keyboard and screen reader users.
   3
          51. As another example of barriers present on Defendants’ Website, there are several
   4
   5   occurrences of links to documents in either PDF or other inaccessible formats which
   6   cannot be competently read by screen readers. This includes, but is not limited, to
   7
       specific information relating to Defendants’ services, goods, promotions and/or offers,
   8
   9
       which are not fully accessible to visually impaired screen readers. In general, unless

  10   authored with accessibility in mind, documents in PDF or other inaccessible formats
  11
       often have accessibility issues. Additionally, such documents are typically viewed using
  12
       a separate application or plug-in, and can thus cause confusion and navigation
  13
  14   difficulties. In fact, the text that is accessible in such documents is presented in a
  15   confusing, scattered manner to screen reader users, not readily allowing navigability and
  16
       creating significant barriers to access.
  17
  18      52. Finally, as another example of barriers present on Defendant’s Website, there are

  19   several occurrences where functions cannot be performed using a keyboard and screen
  20
       reader. This includes, but is not limited, to sections concerning specific information
  21
       relating to Defendants’ services, goods, promotions and/or offers, which are not fully
  22
  23   accessible to visually impaired screen readers.
  24      53. Due to Defendants’ Website inaccessibility, visually impaired customers of
  25
       Defendants cannot independently investigate services and programs offered by
  26
  27   Defendants via the Internet as sighted individuals can and do.

  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 16 -
Case 2:24-cv-10038-FLA-AJR       Document 1 Filed 11/20/24        Page 17 of 30 Page ID
                                        #:17



   1      54. Defendants’ Website thus contains significant access barriers which deny full and
   2
       equal access to Plaintiff, and Class Members, who would otherwise use their Website
   3
       and who would otherwise be able to fully and equally enjoy the benefits and services of
   4
   5   Defendants’ brick-and-mortar location(s).
   6      55. Unless Defendant remedy the numerous access barriers on its Website, Plaintiff
   7
       and Class Members will be unable to visit Defendant’s physical locations in person to
   8
   9
       purchase goods and/or use services offered by Defendant at its physical locations. At all

  10   relevant times, Plaintiff and Class Members intended to visit Defendant’s physical
  11
       locations to purchase goods and/or use services offered by Defendant at its locations but
  12
       has been unable to do so given the numerous access barriers which exist on Defendant’s
  13
  14   Website.
  15      56. Prior to filing this lawsuit, Plaintiff communicated with Defendant to provide
  16
       Defendant with the opportunity to cure and remedy the Website violations. Because
  17
  18   Plaintiff’s goal was to make sure that Defendant would make the required changes to its

  19   Website in order to accommodate visually-impaired individuals, such as Plaintiff, she
  20
       provided Defendant with several months to assess her claims prior to filing a lawsuit. In
  21
       this way, she also provided Defendant with legal notice in advance of filing a lawsuit.
  22
  23   See Koebke v. Bernardo Heights Country Club, 36 Cal.4th 824, 854 (2005) (holding that
  24   evidence of disparate impact [may] be probative of intentional discrimination).
  25
       Specifically, in July 2024, a detailed letter was mailed on behalf of Plaintiff to
  26
  27   Defendant advising Defendant of the communication barriers that exist on its Website.

  28

                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             - 17 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24            Page 18 of 30 Page ID
                                         #:18



   1   Nonetheless, and despite these efforts by Plaintiff, Defendant effectively ignored all of
   2
       Plaintiff’s feedback, forcing Plaintiff to seek legal action.
   3
          57. Plaintiff has personally patronized Defendants’ Website in the past, and intends to
   4
   5   continue to patronize Defendants’ Website. However, unless Defendant is required to
   6   eliminate the access barriers at issue, and required to change their policies so that access
   7
       barriers do not reoccur on Defendants’ Website, Plaintiff will continue to be denied full
   8
   9
       access to the Website as described, and will be deterred from fully using Defendants’

  10   Website.
  11
          58. Specifically, the last time Plaintiff attempted to do business with Defendants
  12
       using their Website was in late 2024, and Plaintiff still encountered barriers to access on
  13
  14   their Website. Despite past and recent attempts to do business with Defendants on their
  15   Website, the numerous access barriers contained on the Website and encountered by
  16
       Plaintiff have denied Plaintiff full and equal access to Defendants’ Website. Plaintiff, as
  17
  18   a result of the barriers on the Website, continues to be deterred on a regular basis from

  19   accessing Defendant’s Website. Likewise, based on the numerous access barriers
  20
       Plaintiff has been precluded from the full and equal enjoyment of services offered in
  21
       Defendants’ physical location.
  22
  23      59. If Defendant’s Website was equally accessible to all, Plaintiff and Class Members
  24   could independently navigate the Website, review its goods and/or services, and find
  25
       other information relating to Defendants’ services, as sighted individuals do.
  26
  27
  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 18 -
Case 2:24-cv-10038-FLA-AJR       Document 1 Filed 11/20/24          Page 19 of 30 Page ID
                                        #:19



   1      60. Through her many attempts to use Defendants’ Website, Plaintiff has actual
   2
       knowledge of the access barriers that make these privileges or services inaccessible and
   3
       independently unusable by blind and visually-impaired people.
   4
   5      61. There are readily available and easy to implement guidelines, available to
   6   Defendant on the Internet, for designing, constructing and maintaining websites to be
   7
       accessible to blind and visually-impaired persons. Other large business entities have
   8
   9
       used these guidelines, or have otherwise been able, to make their websites accessible,

  10   including but not limited to: adding alt-text to graphics, including labels for each form
  11
       control and text for all links, providing alternatives to inaccessible documents and
  12
       ensuring that all significant functions can be performed using a keyboard. In addition,
  13
  14   incorporating these basic changes and adding certain elements to Defendants’ Website
  15   accessibility would not fundamentally alter the nature of Defendants’ business nor
  16
       would it result in an undue burden to Defendants.
  17
  18      62. Because maintaining and providing a website where all functions can be

  19   performed using a keyboard, would provide full, independent and equal accessible to all
  20
       consumers, Plaintiff alleges that Defendants have engaged in acts of intentional
  21
       discrimination, including but not limited to the following policies or practices:
  22
  23             a. Construction and maintenance of a Website that is inaccessible to visually-
  24                 impaired individuals, including Plaintiff;
  25
  26
  27
  28

                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             - 19 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24           Page 20 of 30 Page ID
                                         #:20



   1             b. Failure to construct and maintain a website that is sufficiently intuitive so
   2
                     as to be equally accessible to visually-impaired individuals, including
   3
                     Plaintiff; and,
   4
   5             c. Failure to take actions to correct these access barriers in the face of
   6                 substantial harm and discrimination to blind and visually-impaired
   7
                     consumers.
   8
   9
          63. Because Defendant’s Website has never been equally accessible, and because

  10   Defendant lacks a corporate policy that is reasonably calculated to cause the Website to
  11
       become and remain accessible, Defendant therefore uses standards, criteria or methods
  12
       of administration that have the effect of discriminating or perpetuating the
  13
  14   discrimination of others, as alleged herein.
  15      64. Although Defendant may currently have centralized policies regarding the
  16
       maintenance and operation of their Website, Defendant lacks a plan and policy
  17
  18   reasonably calculated to make the Website fully and equally accessible to, and

  19   independently usable by, the visually impaired.
  20
          65. Without injunctive relief, Plaintiff and Class Members will continue to be unable
  21
       to independently use the Defendant’s Website in violation of their rights.
  22
  23                                   V. CLASS ACTION ALLEGATIONS
  24      66. Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a
  25
       California class under California Code of Civil Procedure section 382 and California
  26
  27   Civil Code section 1781, initially defined as follows:

  28

                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             - 20 -
Case 2:24-cv-10038-FLA-AJR         Document 1 Filed 11/20/24         Page 21 of 30 Page ID
                                          #:21



   1                  All legally blind individuals in the State of California who have attempted
   2
                      to access Defendant’s website by the use of a screen reading software
                      during the applicable limitations period up to and including final judgment
   3                  in this action.
   4
            67. Excluded from the Class are Defendant’s officers, employees, agents or affiliates,
   5
   6   and any judge who presides over this action, as well as past and present employees,
   7
       officers and directors of Defendants.       Plaintiff reserves the right to expand, limit,
   8
       modify, or amend this Class definition, including the addition of one or more subclasses,
   9
  10   in connection with their motion for class certification, or at any other time, based upon,

  11   inter alia, changing circumstances and/or new facts obtained during discovery.
  12
       A.      Commonality
  13
  14        68. There are questions of law and fact that are common to the claims of Plaintiff.

  15   Among these common questions are the following:
  16
                      (a) Whether Defendant’s Website is inaccessible to the visually-impaired
  17
       who use screen reading software to access internet websites;
  18
  19                  (b) Whether Plaintiff and Class Members have been unable to access
  20   the Website through the use of screen reading software;
  21
                      (c) Whether the deficiencies in Defendant’s Website violate the Americans
  22
  23   with Disabilities Act of 1990, 42 U.S.C. § 12181 et seq.;

  24                  (d) Whether the deficiencies in Defendant’s Website violate the California
  25
       Unruh Civil Rights Act, California Civil Code § 51 et seq.;
  26
                      (e) Whether, and to what extent, injunctive relief should be imposed on
  27
  28   Defendant to make the Website readily accessible to and usable by visually-impaired

                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                               - 21 -
Case 2:24-cv-10038-FLA-AJR         Document 1 Filed 11/20/24           Page 22 of 30 Page ID
                                          #:22



   1   individuals;
   2
                      (f) Whether Plaintiff and Class Members are entitled to recover statutory
   3
       damages with respect to Defendant’s wrongful conduct; and
   4
   5                  (g) Whether further legal and/or equitable relief should be granted by the
   6   Court in this action.
   7
       B.      Numerosity
   8
   9        69. The members of the Class are so numerous that separate joinder of each member

  10   is impracticable. While the exact number and identities of other Class Members are
  11
       unknown to Plaintiff at this time, Plaintiff is informed and believe that there are
  12
       thousands of Members in the Class. The Members of the Class are so numerous that
  13
  14   joinder of all Members is impracticable, and the disposition of their claims in a class
  15   action rather than in individual actions will benefit the parties and the Court.
  16
       C.      Typicality
  17
  18        70. Plaintiff and Class Members’ claims are typical of the claims of Members of the

  19   Class as all Members of the Class are similarly affected by Defendant’s wrongful
  20
       conduct, as detailed herein.
  21
            71. Upon information and belief, there has never been a prior lawsuit certified as a
  22
  23   class on behalf of Plaintiff based on the allegations in this Complaint.
  24   D.      Adequacy of Representation
  25
            72. Plaintiff will fairly and adequately protect the interests of the Class and are
  26
  27
  28

                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                               - 22 -
Case 2:24-cv-10038-FLA-AJR         Document 1 Filed 11/20/24          Page 23 of 30 Page ID
                                          #:23



   1   committed to the vigorous prosecution of this action. They have retained competent
   2
       counsel, experienced in litigation of this nature, to represent them and members of the
   3
       Class. There is no hostility between Plaintiff and the unnamed Class members. Plaintiff
   4
   5   anticipates no difficulty in the management of this litigation as a class action.
   6        73. To prosecute this case, Plaintiff has chosen the law firm of Beverly Hills Trial
   7
       Attorneys, P.C., whose attorneys have represented plaintiff in class actions and as
   8
   9
       private attorneys general in bringing public interest actions.

  10   E.      Superiority
  11
            74. A class action is superior to other available methods for the fair and efficient
  12
       adjudication of this controversy. Since the damages sustained by individual Class
  13
  14   Members may be relatively small, the expense and burden of individual litigation makes
  15   it impracticable for the Members of the Class to individually seek redress for the
  16
       wrongful conduct alleged herein. Furthermore, the adjudication of this controversy
  17
  18   through a class action will avoid the potentially inconsistent and conflicting

  19   adjudications of the claims asserted herein. There will be no difficulty in the
  20
       management of this action as a class action. If Class treatment of these claims were not
  21
       available, Defendants would likely unfairly receive thousands of dollars or more in
  22
  23   improper revenue.
  24
            75. The class is readily definable, and prosecution of this action as a Class action will
  25
  26   reduce the possibility of repetitious litigation. Plaintiff does not foresee any issues in the

  27
  28

                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                               - 23 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24        Page 24 of 30 Page ID
                                         #:24



   1   management of this litigation which would preclude the maintenance of this matter as a
   2
       Class action.
   3
   4      76. The prosecution of separate actions by Members of the Class would create a risk

   5   of establishing inconsistent rulings and/or incompatible standards of conduct for
   6
       Defendant. Additionally, individual actions may be dispositive of the interest of all
   7
       Members of the Class, although certain Class Members are not parties to such actions.
   8
   9      77. Defendant’s conduct is generally applicable to the Class as a whole and Plaintiff
  10   seek, inter alia, equitable remedies with respect to the Class as a whole. As such,
  11
       Defendant’s systematic policies and practices make declaratory relief with respect to the
  12
  13   Class as a whole appropriate.

  14                                FIRST CAUSE OF ACTION
  15                      Violation Of The Americans With Disabilities Act
                                        (42 .S.C. § 12181, et seq.)
  16
  17      78. Plaintiff re-alleges and incorporates by reference all paragraphs alleged above and
  18
       each and every other paragraph hereafter necessary or helpful to state this cause of
  19
       action as though fully set forth herein.
  20
  21      79. Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq., provides: “No

  22   individual shall be discriminated against on the basis of disability in the full and equal
  23
       enjoyment of the goods, services, facilities, privileges, advantages, or accommodations
  24
  25   of any place of public accommodation by any person who owns, leases (or leases to), or

  26   operates a place of public accommodation.” 42 U.S.C. § 12182(a).
  27
          80. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also
  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 24 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24          Page 25 of 30 Page ID
                                         #:25



   1   includes, among other things: “a failure to make reasonable modifications in policies,
   2
       practices, or procedures, when such modifications are necessary to afford such goods,
   3
       services, facilities, privileges, advantages, or accommodations to individuals with
   4
   5   disabilities, unless the entity can demonstrate that making such modifications would
   6   fundamentally alter the nature of such goods, services, facilities, privileges, advantages
   7
       or accommodations”; and “a failure to take such steps as may be necessary to ensure that
   8
   9
       no individual with a disability is excluded, denied services, segregated or otherwise

  10   treated differently than other individuals because of the absence of auxiliary aids and
  11
       services, unless the entity can demonstrate that taking such steps would fundamentally
  12
       alter the nature of the good, service, facility, privilege, advantage, or accommodation
  13
  14   being offered or would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).
  15   “A public accommodation shall take those steps that may be necessary to ensure that no
  16
       individual with a disability is excluded, denied services, segregated or otherwise treated
  17
  18   differently than other individuals because of the absence of auxiliary aids and services,

  19   unless the public accommodation can demonstrate that taking those steps would
  20
       fundamentally alter the nature of the goods, services, facilities, privileges, advantages, or
  21
       accommodations being offered or would result in an undue burden, i.e., significant
  22
  23   difficulty or expense.” 28 C.F.R. § 36.303(a). In order to be effective, auxiliary aids and
  24   services must be provided in accessible formats, in a timely manner, and in such a way
  25
       as to protect the privacy and independence of the individual with a disability.” 28 C.F.R.
  26
  27   § 36.303(c)(1)(ii). Defendant’s location is a “public accommodation” within the

  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 25 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24          Page 26 of 30 Page ID
                                         #:26



   1   meaning of 42 U.S.C. § 12181 et seq. Defendants generate significant revenue, either
   2
       directly or indirectly, from access to their Website. Defendant’s Website is a service
   3
       provided by Defendants that is not fully accessible to patrons who are blind or visually-
   4
   5   impaired like Plaintiff. This inaccessibility denies visually impaired customers full and
   6   equal enjoyment of and access to the facilities and services, privileges, advantages, and
   7
       accommodations that Defendant makes available to the non-disabled public. Defendant
   8
   9
       is violating the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that

  10   Defendant denies visually impaired customers the services, privileges, advantages, and
  11
       accommodations provided by https://www.missionbayresort.com/ and all subgroups of
  12
       its webpages. These violations are ongoing.
  13
  14      81. Defendant’s actions constitute intentional discrimination against Plaintiff and the
  15   Class Members on the basis of a disability in violation of the Americans with
  16
       Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendants have constructed a
  17
  18   website that is inaccessible to Plaintiff and the Class Members; maintain the website in

  19   this inaccessible form; and have failed to take adequate actions to correct these barriers
  20
       even after being notified of the discrimination that such barriers cause.
  21
          82. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth
  22
  23   and incorporated therein, Plaintiff requests relief as set forth below.
  24                              SECOND CAUSE OF ACTION
  25                             Violation of Unruh Civil Rights Act
                               (California Civil Code §§ 51, 52, et seq.)
  26
  27
  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 26 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24        Page 27 of 30 Page ID
                                         #:27



   1      83. Plaintiff re-alleges and incorporates by reference all paragraphs alleged above
   2
       and each and every other paragraph hereafter necessary or helpful to state this cause of
   3
       action as though fully set forth herein.
   4
   5      84. The Unruh Civil Rights Act guarantees, inter alia, that persons with disabilities
   6   are entitled to full and equal accommodations, advantages, facilities, privileges, or
   7
       services in all business establishments of every kind whatsoever within the jurisdiction
   8
   9
       of the state of California. See Cal. Civ. Code § 51(b).

  10      85. Defendant owns, operates, supervises, and/or manages hotels, which provide
  11
       services to the general public in California and elsewhere.         Defendant’s business
  12
       establishment is within the jurisdiction of the state of California, and as such are
  13
  14   obligated to comply with the provisions of the URCA, California Civil Code §§ 51, et
  15   seq.
  16
          86. Upon information and belief, Defendant generates significant revenue, either
  17
  18   directly or indirectly, from access to their Website. Defendant’s Website is a service

  19   provided by Defendant that is not fully accessible to patrons who are blind or visually-
  20
       impaired like Plaintiff. This inaccessibility denies blind and visually-impaired patrons
  21
       full and equal access to the facilities, goods, and services that Defendant makes available
  22
  23   to the non-disabled public. Defendant is violating the UCRA, Civil Code §§ 51, et seq.,
  24   by denying visually-impaired customers the goods and services provided on their
  25
       Website. These violations are ongoing.
  26
  27
  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 27 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24           Page 28 of 30 Page ID
                                         #:28



   1      87. Defendant’s actions constitute intentional discrimination against Plaintiff on the
   2
       basis of a disability, in violation of the UCRA, Civil Code §§ 51, et seq., because,
   3
       among other things, (1) Defendant has constructed, maintained, owned, monetized
   4
   5   and/or operated a Website that is inaccessible to visually impaired individuals, such as
   6   Plaintiff; (2) Defendant has opted to maintain this Website in such an inaccessible form
   7
       despite well-established and readily implementable industry guidelines for making
   8
   9
       websites accessible; (3) and Defendant has failed to take action to correct and rectify

  10   these barriers even after being on notice of the discrimination that such barriers may
  11
       create for visually impaired individuals, such as Plaintiff.
  12
          88. Defendant is further violating the UCRA, Civil Code §§ 51, et seq., because the
  13
  14   conduct as alleged herein violates various provisions of the Americans with Disabilities
  15   Act (“ADA”), 42 U.S.C. §§ 12101, et seq., for the reasons set forth above. Under Cal.
  16
       Civ. Code § 51(f), a violation of an individual’s rights under the ADA also constitutes a
  17
  18   violation under the UCRA. Defendant’s discriminatory conduct alleged herein includes,

  19   inter alia, the violation of the rights of persons with disabilities set forth in Title III of
  20
       the ADA and, therefore, also violates the Unruh Act. See Cal. Civ. Code § 51(f).
  21
          89. Unless the Court enjoins Defendant from continuing to engage in these unlawful
  22
  23   practices, Plaintiff will continue to suffer irreparable harm. Plaintiff is therefore entitled
  24   to injunctive relief remedying the discrimination. Plaintiff expressly limits the cost of
  25
       injunctive relief sought to $15,000 or less.
  26
  27
  28

                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 28 -
Case 2:24-cv-10038-FLA-AJR         Document 1 Filed 11/20/24         Page 29 of 30 Page ID
                                          #:29



   1      90. Plaintiff and Class Members are also entitled to statutory minimum damages
   2
       pursuant to UCRA, Civil Code § 52 for each and every offense.               Plaintiff hereby
   3
       expressly limits the total and cumulative amount Plaintiff seeks for all offenses to a total
   4
   5   of $34,999 or less.
   6      91. Plaintiff and Class Members are further entitled to reasonable attorneys’ fees and
   7
       costs.
   8
   9
                                        PRAYER FOR RELIEF

  10   WHEREFORE, Plaintiff prays for judgment against Defendant, as follows:
  11
          A. For an Order certifying the Class as defined herein and appointing Plaintiff and
  12
                her Counsel to represent the Class;
  13
  14      B. A preliminary and permanent injunction pursuant directing Defendant to comply
  15            with the Americans with Disability Act and the Unruh Civil Rights Act, and
  16
                requiring Defendants to take the steps necessary to make
  17
  18            https://www.missionbayresort.com/, and all of the webpages and urls contained

  19            therein readily accessible to and usable by visually impaired individuals;
  20
          C. For an award of all appropriate damages to Plaintiff and the proposed Class
  21
                members, including but not limited to statutory damages, general damages and
  22
  23            treble damages in amounts, according to proof;
  24      D. For attorneys’ fees and expenses, and costs of suit pursuant to all applicable laws;
  25
          E. For pre-judgment interest to the extent permitted by law;
  26
  27      F. For such other and further relief as this Court deems just and proper.

  28

                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                               - 29 -
Case 2:24-cv-10038-FLA-AJR        Document 1 Filed 11/20/24          Page 30 of 30 Page ID
                                         #:30



   1                                    DEMAND FOR JURY TRIAL
   2          Plaintiff, on behalf of herself and all others similarly situated, hereby respectfully
   3
       requests a trial by jury on all appropriate issues raised in this Complaint.
   4
   5
       Dated: November 20, 2024            BEVERLY HILLS TRIAL ATTORNEYS, P.C.
   6
   7
                                                  /s/ Azar Mouzari
   8                                              Azar Mouzari, Esq.
                                                  Attorney for Plaintiff
   9                                              and the Proposed Class
  10
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                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              - 30 -
